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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

CHAD MARUSAK                                          §
     Plaintiff,                                       §
                                                      §
"·                                                    §      CIVIL ACTION NO. 4:21-CV-475-P
                                                      §      (CONSOLlDA TED WITH
SEMA CONSTRUCTION, INC.                               §      CIVIL ACTION NO. 4:2 I -CV-646-P)
     Defendant.                                       §

          FINDINGS, CONCLUSIONS, AND RECOMMENDATION REGARDING
                   DEFENDANT'S RULE 12 MOTION TO DISMISS

         Pending before the Court is Defendant Sema Construction, Inc. C-Sema'· or "Defendant")'s

Rule 12 Motion to Dismiss and Answer to Plaintiff's Second Amended Complaint Subject Thereto

("Motion to Dismiss") [doc. 68], filed February 7, 2022. The Court, having carefully considered

the motion, response, reply, and all relevant applicable law. recommends that Defendant's motion

be GRANTED and that all claims against it be DISMISSED.

                                             I.BACKGROUND

        The above-styled and referenced case has an intricate procedural history and is the product

of the consolidation of two cases. Plaintiff Chad Marusak ("Marusak"), prose, filed a complaint

on March 31, 2021 [doc. 1] under Civil Action Number 4:21-CV-4 75-P. Marusak filed a parallel

complaint on May 11 , 2021 [doc. 1] under a different case number, Civil Action Number 4:2 l -

CV-646-P. United States District Judge Mark Pittman referred 4:21 -CV-475 -P to United States

Magistrate Judge Hal Ray via Special Order          011   March 31, 2021 (doc. 2].   Judge Pittman

subsequently consolidated Action No. 4:21 -CV-646-P into 4:21-CV-475-P. the above-styled and

referenced case,   0 11   November 30, 2021 (doc. 361- A January 4, 2022 electronic order assigned

the undersigned Magistrate to the case.
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        On .January 24, 2022, Plaintiff filed his Second Amended Complaint against Defendant

 [doc. 63]. In the Second Amended Complaint. the live pleading before the Court, Plaintiff alleges

 Defendant viol ated Title VI I of the Civil Rights Act of 1964 (.. Title VII .. ). the Americans with

Disabilities Act of 1990 ('"ADA'") and its amendments, the Age Discrimination in Employment

Act ("ADEA"), and Section 503 of the Rehabilitation Act.               (Plaintiffs Second Amended

Complaint ("Pl. 's Sec. Am. Comp!.'") at 2, 4, ~ 8.) It is uncontested that Serna hired Marusak in

February 2019 and that Marusak worked for the construction company through the end of June

2019. Marusak contends Serna hired him to ··enter and labor on federal [sicl funded work sites.''

and, that on March 6, 2019, Plaintiff suffered a '•right knee injury later establishing him as disabled

by whole body mass report of (4%) fou r percent. " id. at 3,      il 13. After sustaining his injury.
Marusak alleges he "suffered months of demotions. endless harassment" and ··willful retal iation··

at the hands of Sema from '·Apri !-May of 20 I 9 lasting up to July 20 19 ."' Id.

        In its Motion to Dismiss, Serna presents several bases for dismi ssal. First. Serna purports

Plainti ff's Title VII claims should be dismissed because Marusak ·'failed to state a plausibl e claim

for Title VII violations," by failing to allege discrimination on the basis of race, color, religion,

sex. or national origin. (Defendant's Brief in Support ("Def. ' s Br.") at 2.) Next, Serna asserts

Marusak failed to state a retaliation claim under either Title VlI or the ADA. (Def. 's Br. at 4.)

Specifically, with respect to Title VII, Serna states Marusak did not allege that he ·'partici pated in

an activity protected by Title VII or that there was a causal connecti on between the protected

activity and any adverse employment activity.'· id. Similarly, Serna states Marusak fails to meet

the ADA's p rima facie retaliation elements by failing to plead that he engaged in a protected




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 activity, that an adverse action occurred. and that there was a causal connection between the

 activity and the action. Id. at 4-5. 1

            Next, Serna claims Marusak's discrimination claims under the ADA and its amendments

 should be dismissed, asserting Marusak's complaint is void of factual assertions that establish him

 as a qualified individual with a statutorily protected disability. (DeCs Br. at 5.) Moreover. Sema

 states dismissal is warranted because Marusak wholly failed to assert he was .. discriminatcd

 against due to a knee injury. let alone that Defendant knew of [Marusak's] disability . . . or lthat

 Sema] failed to provide a reasonable accommodation to him.·' Id. at 5. In its fourth basis for

dismissal, Serna asserts Marusak failed to state a claim under Section 503 of the Rehabilitation

Act.    Serna argues, inter alia, that Marusak ' s claim under the Rehabilitation Act should be

dismissed because Section 503 of the Rehabilitation Act does not provide a private cause of action.

Id. at 6. Lastly. Sema asserts that Marusak has no viable claim under the ADEA. reasoning

Marusak's claims under the ADEA should be dismissed because Marusak failed to establish age

discrimination based upon disparate treatment or disparate impact theories. Id. at 8, citing Caines

v. City of Dallas, No. 3:18-CV- 1867-L, 2018 WL 7078541. at *4 (N.D. Tex. Dec. 28, 2018).

                                          II. LEGAL STANDARD

         Rule 12(6)(6) allows motions to dismiss for failure to state claims upon which relief can

be granted. Fed. R. Civ. P. 12(6)(6). Courts are limited under 12(6)(6) to the four-corners of the

texts; they may not look beyond the face of the pleadings. See Baker v. Putnal, 75 F.3d 190, 196

(5th Cir. 1996); see also McCartney v. First City Bank. 970 F.2d 45, 4 7 (5th Cir. 1992).

Additionally, the district court must accept all well-pleaded facts as true and view them in the light



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           At the conclusion of its brief discussion on Plaintiff's retaliation claim under the ADA, Sema makes a
blanket statement that Plaintiffs retaliation claims would "likewise fail''• under the ADEA.

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 most favorable to the plaintiff. 2 First City Bank, 970 f.2d at 47 ... A well-pleaded complaint may

 proceed even if it strikes a savvy judge that actual proof of facts is improbable and that ·recovery

 is very remote and unlikely .... Bell At/. Corp. ,·. T,rnmbly, 550 U.S. 544, 556 (2007); see also

 Conley v. Gibson, 355 U.S. 41. 45 (I 957) C-[T]he accepted rule [is] that a complaint should not be

 dismissed for failure to state a claim unless it appears beyond doubt that the plaintiff can prove no

 set of facts."} Nonetheless, a plaintiff must provide the court in its pleadings with ··more than

 labels and conclusions:· as ..a formulaic recitation of the elements of a cause of action will not

 do."' id. at 555. When a pleading has ·'not nudged [its/ claims across the line from conceivable to

 plausible, [the] complaint must be dismissed.'' Twombly, 550 U.S. at 570.

                                                           III. ANALYSIS

          A. Retaliation

          First at issue is whether Plaintiff has stated legitimate Title Vll 3 or ADA retaliatiOJ1 claims

against Serna. A successful retaliation claim under Title Vll and the ADA must satisfy the

McDonnell-Douglas burden-shifting framework. McDonnell-Douglas Corp. v. Green, 411 U.S.

792,793 ( 1973; see. e.g. . Yancy v. U.S. Ainvays, Inc., 469 F. App·x 339,343 (5 th Cir. 2012);


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           Notably, it is well-established that '·pro se complaints are held to less stringent standards tha n formal
pleadings drafted by lawyers. ,. Miller v. S1anmore. 636 F.2d 986. 988 (5 th Cir. 1981 ): see also Haines v. Kerner, 404
U.S. 519, 596 ( 1972) C-'[H]owever inartfully pleaded ... we hold [pro-se plaintiffs] to less stringent standards than
formal pleadings drafted by lawyers.'').

           J As Marusak merely plead violations under ·'Title VII as amended·• without any further direction. the Court
will address Title VII under the Civil Rights Act of 1964, as amended. At its crux, Title VII provides federal
 protections for all persons against employer discrimination based on an employee·s race, color, national origin, sex or
religion. See Civil Rights Act of 1964, 42 U.S.C. § 2000e-2(a)(I). Moreover, under Title Vil, an employer may not
discriminate regarding any term, condition or privilege of employment. Id. Additionally, an employer is prohibited
from retaliating against an employee because of the employee's opposition to "any practice made an unlawful
practice·• under Title VII, or the employee' s pa11icipation in "an investigation, proceeding, or hearing under [Title
VIIJ." S ee 42 U.S.C. § 2000e-3(a). Further, the Court notes that under Title VII the plaintiff, as a pre-requisite to
filing suit, must exhaust administrative remedies and is required to notify the Equal Opportunity Employment
Commission (·'EEOC") about an alleged unlawful practice within I 80 days of the alleged practice ·s occurrence. 29
C.F. R. sec. 1614.105. ·'It is settled that a federal court will not entertain employment discrimination claims brought
under Title Vil unless administrative remedies have first been exhausted.'. Rodrig uez v. United Sia/es, 852 F.Jd 67.
78 ( I st. Cir. 2014). The only reference that th is pre-requisite was satisfied is Marusak 's statement that Sema was
--notified by the plaintiff ofa discriminatory charge filing aga inst the defenda111.·· (Pl. 's Sec. Am. Comp!. at 5, ~l 12.)

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 Mohamad,,. Dallas Cry. Comm. College Dist .. lo. 3:IO-CV-1189-L, 2012 WL 4512488, at *5

 (N.D. Tex. Sept. 28, 20 I 2) (applying modified McDonnell-Douglas framework to retaliation

 claim).

             McDonnell-Douglas developed three requisite prongs for retaliation claims.                               First.

 Plaintiff must establish a prima:/acie case for retaliation. Feist ,·. Louisiana. Dept. of Justice.

 Office of the Affy. Gen., 730 F.3d 450 (5th Ci r. 2013). Next. if a prima:/acie case is established ..

 the burden then shifts to the employer to produce a legitimate, non-discriminatory reason for the

 termination. id.; see also Cameron v. idearc Media Corp., 685 F.3d 44, 48 ( l st Cir.20 12). Lastly,

 if the employer successfully meets its burden, the plaintiff must then prove by a preponderance of

 the evidence that defendant's alleged nondiscriminatory reason was a pretext for discrimination.~

id.; see also LeMaire v. Louisiana, 480 F.3d 383, 388-89 (5th Cir. 1996).

             Under the first McDonnell-Douglas prong, establishing a prima fac ie case of retaliation. a

plaintiff must demonstrate that "(l) he engaged in a protected activity,5 (2) an adverse employment

action occurred,6 and (3) a causal link existed between the protected activity and the adverse

employment action." 7 Walker v. Norris Cylinder Co .. No. 3:03-CV-1009-D. 2005 WL 2278080.


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           "Although intermediate evidentiary burdens shift back and forth under this framework, ·[t]he ultimate
burden of persuading the trier of fact that the defendant intentionally discriminated against the plaintiff remains at all
times with the plaintiff." Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133 (2000) (quoting Tex Dept. ofCmty.
Aj};. v. Burdine, 450 U.S. 248 ( 1981 )).

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           ·' Protected activity is defined as opposition to any practice rendered unlawful by Title VI I. including maki ng
a charge, testifying, assisring, or participating in any investigation, proceeding. or hearing under Title VII." A eke/,·.
Nat'! Commc'ns, Inc.. 339 F.3d 376, 385 (5th Cir. 2003) (internal quotation marks omitted): see 42 U.S.C. § 2000e-
J(a). In other words, Plaintiff"must establish that she would not have been terminated but for her.. engaging in the
protected activity. Turner v. Jackson State Univ., 630 F. App'x 229,232 (5rh Cir. 2015).
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          In the retaliation context, an "adverse employment decision" is an action that a reasonable employee would
have found to be ·'materially adverse." Cooper v. Wal-Mart Transp .. LLC, 662 F. Supp. 2d 757, 777 (S.D. Tex. 2009).
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           The causal link fo r a primaj"acie case may be established if evidence shows that the employer's dec ision to
terminate was based in part on knowledge ofrhe employee's protected activity or if there is close timing between an
employee's protected activity and an adverse action against her. Cooper , 662 F. Supp. 2d at 777. The Court notes
that courts have taken differing positions on how the United States Supreme Court' s decision in University of Texas

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 at *9 (N .D. Tex. Sept.19. 2005) (c iting Long,·. Eastfie!d Coll.. 88 F.3d 300, 304 (5th Cir. l 996)).

 See Cephus ,,_ Texas Health and Human Se1Ts. Comm                       ·11.   146 F. Supp. 3d 818, 830 (S.D. Tex.

 2015).

          ln the instant case, Marusak references that he "pass[ed] al l requirements set fo rth by [t]he

 State of Texas DPS/DOT licensing division by written exams,'" and was ab le to ..operate heavy

 machinery (Sem i Truck and Trailer combinations)'' as a Serna employee. (Pl. 's Sec. Am. Com pl.

 at 3,   ~~   5, 6.) Marusak seems to assert that Serna retaliated against him by terminating his

 employment after he made --complaints applicable to the worksite or his situation·•S to his Serna

 superv isors. Id. at 5, ~12.

          Marusak states he was '•wil lfully demoted'. on '·more than one occasion regardless of

qualification or licensing obtai ned or held by applicability to the promotion or original job

offered.·· (Pl.'s Sec. Arn . Comp!. at 4.            9.) He further states Serna ·•willfully issued additional

volumes of ,vork and paperwork unrelated to the position after report of opposi tion to cause

problems fo r [him]" and that Sema sought to "further harass [him] after demotion" by having

Marusak "check in hourly or daily with assigned persons to dictate the responsibilities [of his




So111h1l'es1ern Medical Cen/er v. Nassar, 570 U.S. 338 (20 13 ), affects the pri1110:/acie causation analysis as well as the
final step pretext causation analysis in Title VI I retaliation cases. See Foster v. Un iv. o/Maty!and, 787 F.3d 243 (4th
Cir.2015) (discussing cases). Some courts in the Fifth Circuit require evidence of"but-for causation•· to establish a
prima-facie case. See Shu-Hui Wu v. Miss. State Univ., 626 F. App·x 535, 537 (5th Cir. 2015) (citing to Nassar in
explaining the causal connection step of the prima:facie case of retaliation). Finnie v. Lee Cty. Miss., 541 F. App·x
368, 371-72 ("To meet the third prong [of a prima-facie case of retaliation], Nassar requires that [Plaintiffj provide
sufficient evidence to allow a reasonable juror to conclude that her filing of an EEOC claim was the 'but-for' cause
of her termination, that, had she not filed the claim, she would have remained in her position . . . ."). Other courts
have held, either expressly or implicitly, that Nassar did not alter the clements of a prima-/acie case. See Hague v.
Univ. of Tex. Hea/1h Sci. Ctr. al San Anlonio, 560 F. App'x 328, 336 (5 th Cir. 2014): Feist v. La. Dep't of.Juslice.
Office of 1he A11'y Gen., 730 F.3d 450,454 (5th Cir. 2013). The Court, however, is not overly concerned with this
legal issue because regardless of how stringently or deferentially the Court considers causation at th e third step of
Plaintifrsprima-facie case, the Court is persuaded Marusak·s pleadings do not reach this final step. See discussion.
infra.

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          The nature of the "discriminatory charge tiling" seemingly refers to the requisite pre-suit administrative
remedy as discussed, infra.

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 employment)."· Id. Marusak maintains that ··shortly after [his] demotion [Sema] willfully and

 [sic] focused on [him.I in a way that was exterior of any job responsibility and focused on the short

 comings [sic] of [Marusak"s] current injury.'· Id. at il 17. Specifically. Marusak references an ·•air-

conditioned portable toilet" Serna provided its employees on its worksite. Marusak maintains the

toilet was guised as an ·'additional accommodation .. to him. but that he "deems J_the toiletJ as

retaliatory." Id.   Marusak also discusses an unclear situation where he asserts an individual

identified only as '·Sedric·· was directed by Serna to take his property as an act of retaliation by

Sema for Marusak·s filing a discrimination claim against Serna. Id. at 4.     ii 12.
        The Court concludes. after reviewing the pleadings. that Marusak has failed to establish a

prima~facie case ol' retaliation under both Tit le VII and the ADA. Even assuming that Marusak

engaged in a protected activity (filing the workplace complaint) and was subject to an adverse

employment action, Marusak has failed to plead facts that could establish a causal connection

between his alleged protected activity and the alleged adverse employment action.          Marusak is

missing a critical component in this allegation - he fails to plead that Serna. specifically his

supervisors that are, presumably, responsible for his promotions and demotions, had any

knowledge of his '•discriminatory filing" or that they demoted him because of his filing. (Pl.· s

Sec. Am. Compl. at 5, il 12.) As Marusak's complaint fails to survive past McDonnell-Douglas·

first prong and establish a prima-facie case of retaliation, the burden does not shift to Sema and,

thus, the Court will not address the remaining prongs.

        Based on the foregoing, the Court finds that Marusak's claims of retaliation under both

Title Vll and the ADA should be dismissed and Sema·s motion to dismiss on the issue of retaliation

should be GRANTED.




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             B. Disability Discrimination

             The next issue is whether Serna discriminated against Marusak because of his physical

 disability. The ADA prohibits disc ri mination in employment against qualified persons with a

 disability. See genemlly 42 U.S.C. § l 2 I 12(a). A Pla intiff can establi sh a claim of discrimination

 under the ADA through either direct or circumstant ial evidence. Seaman v. CSPH, inc.. 179 F.3d

 297, 300 (5th Cir. 1999).            Because Marusak pleads no direct facts evidencing disability

discrimination, the Court must analyze his claim under the modified McDonnell-Douglas burden-

shifting approach. To establish a primajacie case or disability discrimination, a plainti ff must

show that he '·(l) suffers from a disability; 9 (2) was qualified for the job; and (3) was subject to an

adverse employment action because of his disab ility. See Kemp v. Holder, 610 F.3d 23 1, 235 (5th

Cir. 201 0); Dupre v. Charter Behav. Health Sys. cf La/aye/le. inc.. 242 F.3d 610, 6 13 (5th Cir.

2001 ): Talk v. Delta Airlines. inc., 165 F.3 d I 02 1, 1024 (5th Cir.1999); Mackey v. Children's 1\1/ed

Ctr. ofDallas, No. 3:05-CV-043-L, 2006 WL 27 13788, at *17 (N. D. Tex. Sept. 22, 2006).

         The defendant employer then ·'must show a legitimate, nondiscriminatory reason for its

action." Seaman, 179 F.3d at 300. lf the defendant meets its burden, which is one of production

only, then pl aintiff may proceed under one of two alternatives: the pretext alternative or the mixed-

motives alternative. See Rachid v. Jack in Lhe Box, 376 F.3d 305,3 12 (5th Cir. 2004): Siddiqui,,.

Au/ozone West. Inc. , et al., 73 1 F. Supp. 2d, 639,651 (N.D. Tex. July 16, 2010); Cheatham v.

Farmer ins. Grp., No. 4:l l-CV-638-Y, 20 13 WL 96 1494, at *3 n. 2 (N.D. Tex. Mar. 13, 2013);

Evans v. Tex. Dept. o.fTransp. , 547 F. Supp. 2d 626, 640 (E.O. Tex. 2007). Discrimination under

the ADA also includes "not making reasonable accommodations to the known physical or mental


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          ·'Merely having an impairment .. . does not make one disab led for purposes of the /\DA. Plaintiffs also
need to demonstrate that the impairment substantia lly Jim its a major Iife activi ty.'' E. EU C. v. Chevron Phillips
Chemical Co., LP, 570 F.3d 606, 614 (5 th Cir. 2009); see e.g. Toyota Motor !vlfg.. Ky., Inc. v. Williams, 543 U.S 184,
195 (2002) (ci tin g 32 U.S. C. Sec. 12102(2)(A)( I994)).

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 limitations of an otherwise qualified individual with a disability who is an applicant or employee,

 unless such covered entity can demonstrate that the accommodation would impose an undue

 hardship on the operation of the business of such covered entity:· 10 42 U.S.C. § I 2 l l 2(b)(5)(A).

          Here. Marusak claims he suffers from a disability originating from a knee injury. See

 discussion, supra. Though brief and murky. Marusak also provides vague information by way of'

 references to state licensures and certifications that suggest he was qualified for his employment

 at Serna. (Pl. 's Sec. Am. Comp!. at 3, ~~ 5. 6.) Marusak maintains he was '•willfully demoted ..

 . on more than one occasion regardless of qualification or licensing obtained or held by

 applicability to the promotion or original job offered ... (Pl. Sec. Am. Comp!. at 4. •· 9.) Further.

 Marusak claims that "this [demotion] was used to separate and to further discriminate against

 [him]." Id. Marusak suggests that his ·'poor work standard" was a guise used by Serna and his co-

workers to justify his demotion. Id.

         The Court will accept Marusak's statements regarding his disability and work

qualifications, though unclear at best. as factual, though he wholly fails to adequately plead the

ADEA's third prima-jc,cie prong that requires he set forth an adverse employment action occurred

because of his disability. As stated forth above, regarding his status as disabled, Marusak states.

'·On March 06,2019 [sic] .. . Plaintiff suffered a right knee injury later establishing him as disabled

by whole body mass report of (4%) four percent [sic]. ..... (Pl. 's Sec. Am. Comp!. at 3. 114.)



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             In general, the ADA sets forth that an employer has an obligation to provide a --reasonable
accommodation," when "triggered," including changes to an employer's faci lities and procedures to aid the disabled
employee perform essential functions of his job. See Col'le: v. Ray 1heon Co., 663 F. Supp. 2d 514 (N.D. Tex . Oct. I.
2009) (citing 42 U.S.C.A. Sec. 12 I 12(b)(5)(A)). The Court notes to establish a prima-facie case of discrimination
based on failure to accommodate, the Plaintiff must show: (I) Defendant was covered by the statute; (2) Plaintiff was
disabled; (3) Plaintiff could perform the essential functio ns of her job with or without reasonable accommodations;
and (4) Defendant had notice of her disability and failed to provide accommodation. See Lanier v. Univ. o/Tex. Sw.
Med. Ctr., 527 F. App ·x 312, 3 18 (5th Cir. 2013). While Marusak mentions accommodations throughout his
complaint, he fails to specifically plead a cla im fo r failure to accommodate under the ADA. Consequently, Sema·s
motion to dismiss does not address the issue of failure to accommodate and neither does this Court.


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 Interestingly, Marusak seems to suggest that he was sti ll able to perform his essential job functions

 as normal despite this disability, specifically that he held or was capable of holding licenses with

 the ·'D.O.T. and D.P.S. for the State of Texas.'· (Pl. 's Sec. Am. Comp!. at 4,    ii 7.) According to
 Marusak, "[a] certified medical examiner concluded [prior to Marusak's injury] that [Marusak]

cou ld/can operate heavy machinery .... " id. at 3, ~ 6. Further. Marusak claims he received

·'another issuance of a two (2) year medical certification that was provided to rscma] upon

[Marusak 's] hiring in 2019 and again upon promotion in March of 20 I 9 after accepting the

additional responsibilities requiring Hazmat.'' id.       Marusak frequently references his alleged

"·demotions" and "terminations.'' id. at 4, ii 11. It is clear that he believes Scma · s actions amounted

to his ·'wrongful terminat ion," though he wholly fails to plead facts that could equate Sema·s

"singling [hi m] out," "remarks," or --dictat[ion] of [his dutiesr with his knee disability.

        Based on the foregoing, like his retaliation claims under Title VII and the ADA, the Court

finds Marusak also fails to establish a prima-facie case of disability discrimination and that

Defendant's Motion to dismiss on this issue should be GRANTED.

       C. Rehabilitation Act Section 503

       Next at issue is whether Marusak has properly plead that Sema·s actions towards him

violated section 503 of the Rehabilitation Act. Simply stated. section 503 of the Rehabilitation

Act prohibits federal contractors from discriminating against employees with disabilities. See

generally 29 U.S.C. § 793.

       "No otherwise qualified individual wi th a disabi lity in the United States .. . shall,
       solely by reason of [his] disability, be excluded from the participation in. be denied
       the benefits of, or be subjected to any discrimination under any program or activity
       receiving Federal.financial assistance . . : ·

       29 U.S.C. § 794 (emphasis added).




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              Marusak's blanket statement that Serna employed him '·while under contract for federal

 work sites.. is insufficient to satisfy the statutory requirement that would solidify Sema as an

 organization that receives federal financial assistance. (Def. 's Sec. Arn. Com pl. at 3. .., 2.)

 Consequently, the Court finds that Plaintiff has failed to state a claim under section 503 of the

 Rehabilitation Act and that Defendant's Motion to Dismiss based on this issue should be

 GRANTED.

          D. Age Discrimination

          The final issue is whether Marusak suffered discrimination based on his age and in

violation of the ADEA. 11 Again, the Court uses a modified McDonnell-Douglas burden-shifting

 framework to determine age discrimination under the ADEA. Age Discrimination in Employment

Act of 1967 § 4(a)(l , 2), 29 U.S.C. § 623 (a)(l, 2). Specific to age discrimination, the modified

McDonnell-Doug/as framewo rk utilizes two types of discrimination claims: ( 1) disparate

treatment claims and (2) disparate impact claims. See id; see also Munoz ,·. Off, 200 F.3d 291 .

299 (5th Cir. 2000); Smith v. City ol Jackson, Miss., 544 U.S. 228, 240 (2005). '•Disparate

treatment refers to deliberate discrimination in the terms or conditions of employment'' while

"disparate impact claims do not require the intent to discriminate." Powell v. Dallas Morning

News LP., 776 F. Supp. 2d 240, 257 (N.D. Tex. March 28, 2011) (citing Munoz, 200 F.3d 299);

Criggsv. DukePowerCo. , 401 U.S.424,431 (1971).

         Under the ADEA, di sparate treatment occurs when an employer treats a person less

favorab ly than others because of his age. 14A C.J.S. Proof of ADEA claim; disparate treatment

and disparate impact§ 265 (2022). A plaintiff must establish the fo llowing four elements to make


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           The Court notes that, just as required as a pre-requisite for bring a claim under both T itle V11 and the/\ DA,
discussed, infra, a plaintiff must exhaust administrative remedies by notifying the EEOC about an alleged unlawful
practice within 180 days of its occurrence and before bringing suit under the ADEA. 29 U.S.C.A § 633a.


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a prima:fac ie case of age discrimination based on disparate treatment: ( l) that he is of' an age

within the protected age group. 12 (2) that he is qualified for employment. (3) that plaintiff suffered

an adverse employment action, and (4) that he was replaced by someone younger or treated less

favorably than a similarly situated younger employee. Smith, 351 FJd at 196; see also Gaines,

2018 WL 7078541, at *4. If a prima:f'c,cie case is established. Courts then examine an employer· s

motives in making the decision that caused disparate treatment. PlaintilT s age must have been a

determinative factor in the employer's decision-making process and it must have had a

determinative inOuence on the outcome of the decision . See. e.g. , Reeves., 530 U.S. 133 .

        In contrast, ADEA claims that rely on a disparate impact theory must identify "the specific

employment practices that are allegedly responsible for any observed stati st ical disparities [i n

ager rather than merely pointing to a generalized policy that eventually leads discriminati on

amongst those in a protected age group. Wards Cove Packing Co .. Inc. v. Atonio. 590 U.S. 642,

565 (1989) (emphasis added) (quoting Watson v. Fort Worth Bank and Trust, 487 U.S. 977

( 1988)): see also Meacham v. Knolls Atomic Power Lab., 554 U.S. 84, l 00 (2008) .

       ..To establish a primajacie case of age discrimination under a disparate impact
       theory, the plaintiff need not show that the employer was motivated by a
       discriminatory intent. Rather, the disparate impact theory requires proof that a
       facially neutral practice has a signi ficant discriminatory impact on older
       employees.,.

14A C.J.S. Proof of ADEA claim; disparate treatment and disparate impact § 265 (2022).

       In this case, Marusak's age discrimination claims appear to be supported soley by the

disparate treatment pillar. He wholly fails to mention any specific employment practices or

generalized policy that led to discrimination amongst Serna employees, which mi ght suppo rt a

claim under the di sparate impact theory. For these reasons. the Court will only examine Marusak·s



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            The ADEA protects plaintiffs aged 40 and older. 29 U.S.C. A. § 63 l(a).

                                                         12
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age discrimination claim under the disparate-treatment prong of the ADEA 's modified McDonnell-

 Douglas framework.

         In attempting to satisfy McDonnell-Dougla.~·· first prong, Marusak makes a broad claim he

was discriminated against ··on the basis of his age.·· (Pl.-s Sec. Am. Comp! at 8, •1; 30.) ! le

references others in his --age group·' and references himself as a ·'qual ified older person·• but fails

to provide his actual age. Id. (See Pl. 's Sec. Arn. Comp!. at 5, il 16.) Regarding the second prong,

Marusak's qualifications for employment, he states that he has been '·employed since 2013 within

a trade which does require a specific list or requirements be met.. but fails to list whatever

qualifications Serna requires of him for his employment. (Plaintiffs Response to Defendant·s

Motion to Dismiss ("Pl.'s Resp.") at I.) Marusak does mention, however, that he has obtained the

requisite licenses from various state agencies that allow him to perform his job. (Pl. ·s Sec. Am.

Comp!. at 3, ,i,i 5. 6.)

        Next, Marusak makes several references to adverse employment actions. stating he was

··replaced by a demotion ... by a younger male." Id. at          iJI 4.   ·'Defendant harasse[d] and

discriminated against [himJ ... for age and disability while having knowledge [of his age and

disability]." (Pl. 's Sec. Am. Comp!. at 5,   13.) Specifically, he references an instance where he

was asked, "RU I 00," though neither the context nor the identity of the inqui sitor is alleged. Even

assuming Marusak does qualify as an individual within the protected age class and is qualified to

perform the tasks of his employment, Marusak fails to adequately plead a prima-facie case of age

discrimination on the theory of disparate treatment. The Court finds that Marusak has wholly failed

to plead that he suffered an adverse employment action on the basis of his age or that he was

replaced by a similarly qual ified younger individual.




                                                 13
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        In summation, Marusak has failed to properly plead a case for age discrimination under the

ADEA and Defendant's Motion to Dismiss on this issue should be GRANTED .

                                         IV. CONCLUSION

        For the reasons set forth above, the Court RECOMMENDS that Defendant" s Motion to

Dismiss Plaintiff's Complaint Pursuant to fed. R. Civ. P. 12(b)(6) [doc. 68] be GRANTED and

the above-styled and numbered cause be DISMISSED.

                       NOT ICE OF RIGHT TO OBJECT TO PROPOSED
                    FINDINGS, CONCLUSIONS AND RECOMMENDATION
                      AND CONSEQUENCES OF FAILURE TO OBJECT

        Under 28 U.S.C. § 636(b)(I). each party to this action has the right to serve and file spec ific

written objections in the United States District Court to the United States Magistrate .Judge·s

proposed find ings, cone! usions and recommendation within fourteen ( 14) days after the party has

been served with a copy of this document. The United States District Judge need only make a de

novo determination of those portions of the United States Magistrate Judge· s proposed findings,

conclusions and recommendation to which specific objection is timely made. See 28 U.S.C. §

636(b)( I ). Failure to file, by the date stated above. a specific written objection to a proposed

factual finding or lega l conclusion will bar a party, except upon grounds oC plain error or manifest

injustice, from attacking on appeal any such proposed factual findings and legal conc lusions

accepted by the United States District Judge. See Douglass v. United Servs. Auto Ass 'n, 79 F.3d

1415, 1428- 29 (5th Cir. 1996) (en bane), superseded by statute on other grounds , 28 U.S.C. §

636(b)(l) (extending time to file objections from ten to fourteen days).




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                                              ORDER

        Under 28 U.S.C. § 636. it is hereby ORDERED that each party is granted until April 5,

2022 to serve and file written objections to the United States Magistrate Judge·s proposed findings.

conclusions and recommendation. lt is further ORDERED that if objections are filed and the

opposing party chooses to file a response, the response shall be filed within seven (7) days   o[   the

filing date of the objections.

       It is further ORDERED that the above styled and numbered action, previously referred to

the United States Magistrate Judge for findings. conclusions and recommendation. be and hereby

is returned to the docket of the United States District Judge

       SIGNED March 22, 2022.


                                                                 I. CURETON
                                                                'TATES MAGISTRATE JUDGE




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